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                          EXHIBIT 10
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      1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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Allison Khaskelis

From:                           Amir Rosenshine <amir.rosenshine@gmail.com>
Sent:                           Monday, 14 December 2020 10:42
To:                             Oren Rosenshine; Allison Khaskelis; Yisrael Hiller
Subject:                        Rosenshine v A. Meshi Cosmetics Industries, Ltd., et al. No. 18-cv-3572
Attachments:                    Disclosures.pdf; Declaration (Oren).pdf; Declaration (Amir).pdf; Computation of Lost Profits.pdf; Counterfeit Star Gel®.pdf; Counterfeit
                                Online Listings.pdf; Screenshot of Trade Show Exhibit.pdf


Dear Ms. Khaskelis,

Attached are our disclosures.

Please send us all documents and records relating to any and all sales of counterfeit Star Gel® ever made by your client, including but not limited to, invoices,
agreements, recordings, written correspondence such as emails, etc. We are requesting all materials in your client's possession relating to all sales of Star Gel®
ever made by your client to any other party besides us or our predecessors (namely, GMIE and IG).

Please also provide the ownership structure of A. Meshi, including all shareholders and their stakes in the company, directors, and executive managers. In
addition, please explain the roles of Mr. Yermi Mizrahi, Mr. Shem Tov Mizrahi, and Ms. Nava Mizrahi in the company, including positions, titles, and
responsibilities. Finally, please identify all individuals at A. Meshi, all individuals outside A. Meshi, and all organizations who have been involved in the
production and sales of Star Gel® to any other party besides us or our predecessors, and explain their roles in the Star Gel® counterfeiting supply chain.

Sincerely,

Oren Rosenshine, Amir Rosenshine




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      1:18-cv-03572-LDH-LB
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     1:18-cv-03572-LDH-LB
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 Case1:18-cv-03572-LDH-LB
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 Case1:18-cv-03572-LDH-LB
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      1:18-cv-03572-LDH-LB Document
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 Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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Case
 Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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 Case1:18-cv-03572-LDH-LB
     1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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     1:18-cv-03572-LDH-LB
      1:18-cv-03572-LDH-LB Document
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     1:18-cv-03572-LDH-LB
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      1:18-cv-03572-LDH-LB Document
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